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      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT TACOMA



   RICHARD T. HENRETTA,,                             JUDGMENT IN A CIVIL CASE

                                                     Case Number 3:22-cv-05407-RJB
                         Plaintiff,
          V



   ROGER W. ACH, II, JANET ACH,
   CHICAGO WEST PULLMAN, LLC,
   SOCIAL PAY, AND BIOTONE


                         Defendants.




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

       Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.



THE COURT HAS ORDERED THAT:

        Judgment is entered in favor of Plaintiff Richard T. Henretta and against Roger W. Ach,
II, Janet Ach, Chicago West Pullman LLC, Social Pay and BioTone in the sum of $2,186,850.00.


       Dated June 12, 2024.
                                             Ravi Subramanian
                                             Clerk of Court

                                             s/ Ann Duke
                                             Deputy Clerk
